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U.S. v. Bates Felony Adult Defendant Supervised Re]ease

 

 

 

 

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11. ATTORN EY'S NAMF. (Firsi Name, M.|., Lnst Name, including any sufli:] 13. COURT ORDER
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IRBY, ROBERT i:i F S\lh! Foi' cherll Del'eoder g R Siibs For Retaiiied Attorney
4345 E_ MALLORY AVE' Ci P sum Fur Psnei Aiiorney ij v sunday counsel
MEMPHI S "[`N 3 81 1 ] i’rior Attorney's Name:
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time of appointment. l:l YES [i NO ‘ w jj , . ‘“C_`
CATEGOR.|ES (Attar.h itemization of services with dates)
15. a. Arraignment and/or Plea
h. Baii and ‘Detention Hearings
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9. CERT\F|CA"HON OF ATTORNEY[PAYEE FOR THE PERIOD 0 F SERV`ICE 20. APPOINTMENT TERM|NAT|ON DATE 21. CASE DISPO SITION

 

 

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